 Case: 4:24-cv-00520-JAR           Doc. #: 57       Filed: 08/09/24           Page: 1 of 12 PageID #:
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                               United States Court of Appeals
                                      For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
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                                                            August 09, 2024


Simon Christopher Brewer
U.S. DEPARTMENT OF JUSTICE
Civil Division
950 Pennsylvania Avenue, N.W.
Washington, DC 20530-0000

         RE: 24-2332 State of Missouri, et al v. Joseph Biden, Jr., et al
             24-2351 State of Missouri, et al v. Joseph Biden, Jr., et al

Dear Counsel:

         The court today issued an opinion in this case.


                                                            Maureen W. Gornik
                                                            Acting Clerk of Court

MTB

Enclosure(s)

cc:      Nicholas J. Bronni
         Clerk, U.S. District Court, Eastern District of Missouri
         Reed Dempsey
         Joshua Divine
         Samuel Charles Freedlund
         Dylan L. Jacobs
         Simon Gregory Jerome
         Stephen John Petrany
         Stephen Michael Pezzi
         Thomas Pulham
         Michael Raab
         Honorable John A. Ross
         Sarah Nicole Smith

            District Court/Agency Case Number(s): 4:24-cv-00520-JAR
                                                  4:24-cv-00520-JAR




      Appellate Case: 24-2332       Page: 1          Date Filed: 08/09/2024 Entry ID: 5422990
 Case: 4:24-cv-00520-JARUnited
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                               #: 57 Court
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                                     1256
                             For The Eighth Circuit
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                                                           August 09, 2024


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       RE: 24-2332 State of Missouri, et al v. Joseph Biden, Jr., et al
           24-2351 State of Missouri, et al v. Joseph Biden, Jr., et al

Dear Sir or Madam:

       An opinion was filed today in the above case.

       Counsel who represents the appellants are Simon C. Brewer, of Washington, DC., Simon
G. Jerome, of Washington, DC., Stephen M. Pezzi, of Washington, DC., Thomas Pulham, of
Washington, DC., Michael Raab, of Washington, DC., and Sarah N. Smith, of Washington, DC.

      Counsel who represents the appellees are Joshua Divine, of Jefferson City, MO., and
Samuel C. Freedlund, of Saint Louis, MO.

       Additional counsel for State of Arkansas are Nicholas J. Bronni, of Little Rock, AR., and
Dylan L. Jacobs, of Little Rock, AR.

       Additional counsel for State of Missouri is Reed Dempsey of Jefferson City, MO.

       Additional counsel for State of Georgia is Stephen J. Petrany, of Atlanta, GA.

       The judge who heard the case in the district court was Honorable John A. Ross.

       If you have any questions concerning this case, please call this office.

                                                           Maureen W. Gornik
                                                           Acting Clerk of Court

MTB

Enclosure(s)

cc: Lois Law
    MO Lawyers Weekly

         District Court/Agency Case Number(s): 4:24-cv-00520-JAR
                                               4:24-cv-00520-JAR
   Appellate Case: 24-2332 Page: 1        Date Filed: 08/09/2024 Entry ID: 5422990
Case: 4:24-cv-00520-JAR    Doc. #: 57     Filed: 08/09/24       Page: 3 of 12 PageID #:
                                        1257



                United States Court of Appeals
                           For the Eighth Circuit
                       ___________________________

                               No. 24-2332
                       ___________________________

State of Missouri; State of Arkansas; State of Florida; State of Georgia; State of
               North Dakota; State of Ohio; State of Oklahoma

                                      Plaintiffs - Appellees

                                         v.

 Joseph Robinette Biden, Jr., in his official capacity as President of the United
  States; Miguel Cardona, in his official capacity as Secretary, United States
      Department of Education; United States Department of Education

                                Defendants - Appellants
                       ___________________________

                               No. 24-2351
                       ___________________________

State of Missouri; State of Arkansas; State of Florida; State of Georgia; State of
               North Dakota; State of Ohio; State of Oklahoma

                                      Plaintiffs - Appellants

                                         v.

 Joseph Robinette Biden, Jr., in his official capacity as President of the United
  States; Miguel Cardona, in his official capacity as Secretary, United States
      Department of Education; United States Department of Education

                                   Defendants - Appellees
                                 ____________




 Appellate Case: 24-2332    Page: 1      Date Filed: 08/09/2024 Entry ID: 5422990
 Case: 4:24-cv-00520-JAR      Doc. #: 57     Filed: 08/09/24   Page: 4 of 12 PageID #:
                                           1258



                     Appeal from United States District Court
                   for the Eastern District of Missouri - St. Louis
                                   ____________

                              Submitted: July 26, 2024
                               Filed: August 9, 2024
                                    [Published]
                                   ____________

Before GRUENDER, ERICKSON, and GRASZ, Circuit Judges.
                         ____________

PER CURIAM.

       Before us is the motion of plaintiff States Missouri, Arkansas, Florida,
Georgia, North Dakota, Ohio, and Oklahoma (collectively, the “States”) seeking an
injunction pending appeal preventing the United States Secretary of Education from
implementing a plan to forgive approximately $475 billion in federal-student-loan
debt. See Improving Income Driven Repayment for the William D. Ford Federal
Direct Loan Program and the Federal Family Education Loan (FFEL) Program, 88
Fed. Reg. 43820 (July 10, 2023) (also known as the “Final Rule” or “SAVE”). We
grant in part and deny in part the States’ motion for the following reasons.

                                            I.

       SAVE is the Secretary of Education’s latest regulation creating a new version
of the income-contingent repayment (“ICR”) plan under the Higher Education Act
(“HEA”). See 20 U.S.C. § 1087e(d)(1) (directing the Secretary to “offer a borrower
of a loan made under this part a variety of plans for repayment of such loan, including
principal and interest on the loan”); § 1087e(d)(1)(D) (directing the Secretary to
establish an ICR plan). Before SAVE, the ICR plan was governed by the terms of a
regulation known as REPAYE, and before REPAYE, it was governed by PAYE.
Both REPAYE and PAYE forgave borrowers’ remaining principal at the end of
twenty or twenty-five years of repayment, see Student Assistance General


                                           -2-
   Appellate Case: 24-2332     Page: 2      Date Filed: 08/09/2024 Entry ID: 5422990
 Case: 4:24-cv-00520-JAR      Doc. #: 57     Filed: 08/09/24   Page: 5 of 12 PageID #:
                                           1259



Provisions, Federal Family Education Loan Program, and William D. Ford Federal
Direct Loan Program, 80 Fed. Reg. 67204, 67204-05 (October 30, 2015); Federal
Perkins Loan Program, Federal Family Education Loan Program, and William D.
Ford Federal Direct Loan Program, 77 Fed. Reg. 66088, 66088-89 (November 1,
2012), without clear authorization to do so from Congress. See 20 U.S.C.
§ 1087e(d)(1)(D); § 1098e(b)(7).          However, these plans were relatively
uncontroversial as they were limited in scope and less generous than income-based
repayment (“IBR”) plans, which Congress had specifically established to enable
more-favorable repayment terms and ultimately loan forgiveness for borrowers who
could demonstrate financial hardship. See § 1098e(b)(7) (requiring that “the
Secretary shall repay or cancel any outstanding balance of principal and interest due”
once an IBR borrower meets certain requirements). The new SAVE plan, by
contrast, is an order of magnitude broader than anything that has come before. Its
altered payment-threshold provisions significantly lower payment amounts, often to
$0 per month. See 88 Fed. Reg. 43828-29, 43833, 43901-02. SAVE additionally
does not charge borrowers accrued interest and forgives principal balances much
sooner, see id., and sets up a sliding-scale loan-forgiveness calculation under which
loans can be forgiven in as little as 10 years. Id. at 43891, 43902-03. The net result
is that millions of borrowers who opt-in to SAVE will pay nothing towards their
principal balance, nothing towards interest, and then will have their untouched
principal balance forgiven sooner. See Press Release, The White House, FACT
SHEET: President Biden Cancels Student Debt for more than 150,000 Student Loan
Borrowers          Ahead         of       Schedule        (Feb.       21,      2024),
https://www.whitehouse.gov/briefing-room/statements-releases/2024/02/21/fact-
sheet-president-biden-cancels-student-debt-for-more-than-150000-student-loan-
borrowers-ahead-of-schedule.

       The plaintiff States sued President Joseph R. Biden, Secretary of Education
Miguel A. Cardona, and the United States Department of Education (collectively,
the “Government”) to enjoin prospectively the implementation of SAVE. The
district court granted in part the States’ motion for a preliminary injunction after
finding that at least one plaintiff, Missouri, had established standing through its state


                                           -3-
   Appellate Case: 24-2332     Page: 3      Date Filed: 08/09/2024 Entry ID: 5422990
 Case: 4:24-cv-00520-JAR      Doc. #: 57     Filed: 08/09/24   Page: 6 of 12 PageID #:
                                           1260



instrumentality—the Higher Education Loan Authority of the State of Missouri
(“MOHELA”)—and that MOHELA was facing “certain” irreparable harm. The
district court concluded that the States had shown a “fair chance” of success on the
merits of their claims both that loan forgiveness is not statutorily authorized for any
ICR plan and that SAVE violates separation of powers under the major-questions
doctrine. However, the district court only enjoined the ultimate forgiveness of loans,
finding that the States had not shown irreparable harm with respect to the payment-
threshold provisions and the nonaccrual of interest.

        Despite the district court’s injunction, the Government continues to forgive
loans for borrowers enrolled in SAVE. It does so through a new so-called “hybrid
rule.” The Government’s hybrid rule combines the parts of SAVE that the district
court did not enjoin, such as the payment-threshold provisions and nonaccrual of
interest, with the forgiveness-of-principal provisions in REPAYE. Through this
hybrid plan, the Government has been able to make it such that borrowers who, prior
to the district court’s preliminary injunction, made reduced or $0 payments pursuant
to SAVE before ultimately being forgiven the remainder of their balance are now,
after the district court’s preliminary injunction, still making the same reduced or $0
payments pursuant to SAVE and are still ultimately being forgiven the remainder of
their loan balance pursuant to REPAYE. Indeed, the Government concedes as much.
See Resp. in Opp’n to Emergency Mot. for Inj. Pending Appeal at 19-20
(acknowledging that “[a]s a result [of the injunction], . . . the REPAYE plan was
partly amended and renamed [to SAVE], governed by the terms of the Final Rule
except for the criteria regarding time to forgiveness, which reverted to the terms of
the original REPAYE plan”). The Government’s hybrid plan was created after and
in response to the district court’s preliminary injunction and has effectively rendered
that injunction a nullity. As a result of the hybrid plan, the only practical effect of
the district court’s injunction is that borrowers formerly enrolled under SAVE and
now enrolled under the hybrid plan will not be eligible for loan forgiveness until
they have been making payments for at least 20 years, as opposed to as early as 10
years. But their payments are often $0 per month pursuant to the non-enjoined parts



                                           -4-
   Appellate Case: 24-2332     Page: 4      Date Filed: 08/09/2024 Entry ID: 5422990
 Case: 4:24-cv-00520-JAR       Doc. #: 57     Filed: 08/09/24   Page: 7 of 12 PageID #:
                                            1261



of SAVE, and after twenty years of $0 payments, the loans may still be entirely
forgiven.

       The Government appealed the district court’s injunction. The States cross-
appealed, seeking an expanded injunction pending appeal in the district court. The
district court denied this motion before the Government could file a response. As
the Government’s hybrid plan took shape, the States moved to clarify the scope of
the preliminary injunction in the district court, asking the district court to clarify that
its preliminary injunction “prohibits [the Government] from using ICR authority to
forgive loans for any borrowers enrolled in the SAVE plan.” The district court
denied the motion. The States then sought an injunction pending appeal in this court.
In light of the Government’s post-injunction actions, we administratively stayed
implementation of the hybrid rule on July 18 until the parties could fully brief the
emergency motion for an injunction pending appeal.

                                             II.

       We now turn to the merits of the States’ emergency motion for an injunction
pending appeal. Like the Government’s last attempt to engage in mass student-loan
cancellation, “[w]hatever the eventual outcome of this case, it will affect the finances
of millions of Americans with student loan debt as well as those Americans who pay
taxes to finance the government and indeed everyone who is affected by such far-
reaching fiscal decisions.” Nebraska v. Biden (Nebraska I), 52 F.4th 1044, 1045
(8th Cir. 2022). “As such, we approach the motion before us with great care.” Id.

        “In ruling on a request for an injunction pending appeal, the court must
engage in the same inquiry as when it reviews the grant or denial of a preliminary
injunction.” Id. at 1046; see Walker v. Lockhart, 678 F.2d 68, 70 (8th Cir. 1982).
“[A] district court may grant a preliminary injunction when a movant shows [1] that
he is likely to succeed on the merits, [2] that he is likely to suffer irreparable harm
in the absence of preliminary relief, [3] that the balance of equities tips in his favor,
and [4] that an injunction is in the public interest . . . .” Cigna Corp. v. Bricker, 103


                                            -5-
   Appellate Case: 24-2332      Page: 5      Date Filed: 08/09/2024 Entry ID: 5422990
 Case: 4:24-cv-00520-JAR     Doc. #: 57     Filed: 08/09/24   Page: 8 of 12 PageID #:
                                          1262



F.4th 1336, 1342 (8th Cir. 2024) (internal quotation marks omitted). “While no
single factor is determinative, the probability of success factor is the most
significant.” Id. “A movant shows a likelihood of success on the merits when [he]
demonstrates a fair chance, not necessarily greater than fifty percent, that [he] will
ultimately prevail under applicable law.” Id. at 1343 (internal quotation marks
omitted). “In circumstances where the movant has raised a substantial question and
the equities are otherwise strongly in his favor, the showing of success on the merits
can be less.” Nebraska I, 52 F.4th at 1046 (internal quotation marks omitted); see
also Fennell v. Butler, 570 F.2d 263, 264 (8th Cir. 1978) (“If the balance tips
decidedly towards the plaintiffs and the plaintiffs have raised questions serious
enough to require litigation, ordinarily the injunction should issue.”).

       As a threshold matter, we agree with the district court that “[t]he allegations
in the Complaint are substantially similar to, if not identical to, those the Supreme
Court held were sufficient to establish Missouri’s standing just last year in Biden v.
Nebraska” (Nebraska II), 600 U.S. ----, 143 S. Ct. 2355 (2023), and thus that at least
one of the States, Missouri, has standing to sue. See Nebraska I, 52 F.4th at 1046-
47.

       Next, we turn to the “most significant” factor—the likelihood of success on
the merits. See Cigna Corp., 103 F.4th at 1342. The States have demonstrated at
least a “fair chance” that they will ultimately prevail under applicable law. Id. at
1343. The SAVE plan is even larger in scope than the loan-cancellation program at
issue in Nebraska II, 143 S. Ct. at 2369. According to the same budget model issued
by the Wharton School of the University of Pennsylvania cited in Nebraska II,
SAVE is anticipated to forgive an estimated $475 billion dollars in student loans.
See id. at 2373; Biden’s New Income-Driven Repayment (“SAVE”) Plan: Budgetary
Cost Estimate Update, Penn Wharton Budget Model (July 17, 2023). The
Government’s asserted authority to implement SAVE rests on the HEA’s directive
to the Secretary of Education to establish “an income contingent repayment plan,
with varying annual repayment amounts based on the income of the borrower, paid
over an extended period of time prescribed by the Secretary, not to exceed 25 years.”


                                          -6-
   Appellate Case: 24-2332    Page: 6      Date Filed: 08/09/2024 Entry ID: 5422990
 Case: 4:24-cv-00520-JAR      Doc. #: 57     Filed: 08/09/24   Page: 9 of 12 PageID #:
                                           1263



20 U.S.C. § 1087e(d)(1)(D). We agree with the district court that the Government’s
“interpretation” of this provision to authorize loan forgiveness of this magnitude “is
questionable,” especially in light of the fact that “other portions of the HEA . . .
explicitly permit loan forgiveness,” such as IBR plans. See 20 U.S.C. § 1098e(b)(7)
(requiring that “the Secretary shall repay or cancel any outstanding balance of
principal and interest due” once an IBR borrower meets certain requirements). The
clear statutory requirement that loans in certain programs, such as IBR plans, be
canceled, coupled with statutory silence regarding forgiveness under ICR plans,
suggests that—as the district court concluded—“Congress has made it clear under
what circumstances loan forgiveness is permitted, and the ICR plan is not one of
those circumstances.”

       Moreover, the Government’s assertion that it has “discover[ed] in a long-
extant statute an unheralded power to regulate a significant portion of the American
economy” requires us to “greet [that] announcement with a measure of skepticism.”
Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014) (internal quotation marks
omitted). The economic impact of SAVE is roughly nine times larger than the $50
billion that triggered heightened scrutiny in Ala. Ass’n of Realtors v. Dep’t of Health
& Hum. Servs., 594 U.S. 758, 764 (2021). We agree with the United States District
Court for the District of Kansas, which also preliminarily enjoined SAVE in a case
that is now pending before the United States Supreme Court, that the expansion of
ICR plans from a program costing roughly $15 billion to $475 billion “expands
agency authority to such an extent that it alters it.” Alaska v. U.S. Dep’t of
Educ., --- F. Supp. 3d ---, 2024 WL 3104578, at *11 (D. Kan. June 24, 2024), stay
pending appeal granted, No. 24-3089 (10th Cir. June 30, 2024), application to
vacate stay filed, No. 24A11 (U.S. July 5, 2024); see Nebraska II, 143 S. Ct. at 2369
(“The Secretary’s plan has modified the cited provisions only in the same sense that
the French Revolution modified the status of the French nobility.” (internal quotation
marks omitted)). Here the Government asserts that it has discovered in a few
provisions of the HEA the authority to forgive hundreds of millions of dollars’ worth
of student loans, 3,000 percent more than has ever been forgiven under any previous
ICR program. In light of this vast assertion of newfound power, the major-questions


                                           -7-
   Appellate Case: 24-2332     Page: 7      Date Filed: 08/09/2024 Entry ID: 5422990
Case: 4:24-cv-00520-JAR      Doc. #: 57     Filed: 08/09/24   Page: 10 of 12 PageID #:
                                          1264



doctrine requires that “something more than a merely plausible textual basis for the
agency action is necessary” in order to uphold the regulation. West Virginia v. EPA,
597 U.S. 697, 723 (2022). But the text of the HEA makes a showing of even mere
plausibility difficult, given that it demonstrates that “Congress opted to make debt
forgiveness available only in a few particular exigent circumstances,” Nebraska II,
143 S. Ct. at 2369, such as IBR plans, see 20 U.S.C. § 1098e(b)(7). Moreover, the
Government’s asserted ability to forgive student loans through ICR plans rests on
§ 1087e(d)(1)(D)’s requirement that the Secretary offer “an income contingent
repayment plan, with varying annual repayment amounts based on the income of the
borrower, paid over an extended period of time prescribed by the Secretary, not to
exceed 25 years” and § 1087e(e)(4)’s requirement that “[i]ncome contingent
repayment schedules shall be established by regulations promulgated by the
Secretary and shall require payments that vary in relation to the appropriate portion
of the annual income of the borrower . . . as determined by the Secretary.” These
are “wafer-thin reed[s] on which to rest such sweeping power.” Nebraska II, 143
S.Ct. at 2371. On initial review, the States have the better of the arguments on these
“substantial questions of law which remain to be resolved.” Nebraska I, 52 F.4th at
1047.

       As to irreparable harm, the Government concedes that it continues to forgive
loans for borrowers enrolled in SAVE pursuant to the hybrid rule despite the district
court’s injunction. See Resp. in Opp’n to Emergency Mot. for Inj. Pending Appeal
at 19-20. As discussed above, the Government’s actions have resulted in there being
almost no practical difference in loan forgiveness for borrowers enrolled in SAVE
before and after the district court’s preliminary injunction, rendering the injunction
largely a nullity. In short, the Government continues to work the same irreparable
harm on MOHELA that the district court sought to enjoin.

       Lastly, when balancing the equities, “the key question is whether the movant’s
likely harm without a preliminary injunction exceeds the nonmovant’s likely harm
with a preliminary injunction in place.” Cigna Corp., 103 F.4th at 1347; Morehouse
Enters., LLC v. ATF, 78 F.4th 1011, 1018 (8th Cir. 2023) (“The third and fourth


                                          -8-
   Appellate Case: 24-2332    Page: 8      Date Filed: 08/09/2024 Entry ID: 5422990
Case: 4:24-cv-00520-JAR      Doc. #: 57     Filed: 08/09/24   Page: 11 of 12 PageID #:
                                          1265



factors for a preliminary injunction—harm to the opposing party and the public
interest—merge when the Government is the party opposing the preliminary
injunction.”). Among the considerations here are that all borrowers currently
impacted by our administrative stay are in administrative forbearance and thus not
required to pay principal or interest on their loans, borrowers who have remained in
PAYE and REPAYE plans are not impacted, and the States cannot turn back the
clock on any loans that have already been forgiven. See Nebraska I, 52 F.4th at
1047-48. We conclude that the balance of the equities in this case require us to
intervene to preserve the status quo pending the Government’s appeal of the district
court’s order. See id. at 1048.

       In doing so, “we have carefully considered . . . the scope of any temporary
relief.” Id. “Crafting a preliminary injunction is an exercise of discretion and
judgment, often dependent as much on the equities of a given case as the substance
of the legal issues it presents.” Id. (quoting Trump v. Int’l Refugee Assistance
Project, 581 U.S. 571, 579 (2017)). We look to craft an injunction that is “no more
burdensome to the defendant than necessary to provide complete relief to the
plaintiffs.” Id. (quoting Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765
(1994)); see also id. (discussing the scope of an emergency injunction pending
appeal). We therefore grant in part and deny in part the States’ emergency motion
for an injunction pending appeal to prohibit the use of the hybrid rule to circumvent
the district court’s injunction.

                                          III.

       The Government is, for any borrower whose loans are governed in whole or
in part by the terms of the Improving Income Driven Repayment for the William D.
Ford Federal Direct Loan Program and the Federal Family Education Loan (FFEL)
Program, 88 Fed. Reg. 43820, enjoined from any further forgiveness of principal or
interest, from not charging borrowers accrued interest, and from further
implementing SAVE’s payment-threshold provisions. This injunction will remain



                                          -9-
   Appellate Case: 24-2332    Page: 9      Date Filed: 08/09/2024 Entry ID: 5422990
Case: 4:24-cv-00520-JAR      Doc. #: 57     Filed: 08/09/24   Page: 12 of 12 PageID #:
                                          1266



in effect until further order of this court or the Supreme Court of the United States.
The administrative stay is hereby superseded.
                         ______________________________




                                          -10-
  Appellate Case: 24-2332     Page: 10      Date Filed: 08/09/2024 Entry ID: 5422990
